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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             EDCR20-00125-KK

 Defendant           KAMIE BROWN                                             Social Security No. 1         9   0     2
 akas:                                                                       (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH      DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.           04     29      2021


  COUNSEL                                                              Jesse Ruiz - Retained
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                     18 U.S.C. § 111 (a) (1): Assault on a Federal Employee
JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of:

It is ORDERED that the defendant shall pay to the United States a mandatory processing fee of $25.00 due by July 19,
2021.

It is further ordered that all fines are waived, defendant does not have the ability to pay a fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Kamie Brown, is
hereby placed on unsupervised probation on Count 1 of the Information for one year.

Defendant was advised of her right to file an appeal and right to court appointed counsel for the purposes of appeal
within fourteen days of entry of this Judgment.




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 The Court may change the conditions of supervision, reduce or extend the period of supervision, and at any time
 during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.



           $SULO
           Date                                       .HQO\.L\D.DWRU. S. Magistrate Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or
 other qualified officer.

                                                      Clerk, U.S. District Court



           $SULO                        By
           Filed Date                                 Deputy Clerk




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